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AO 245B (CASDRev. 08/13) Judgment in a Criminal Case


                                       UNITED STATES DISTRICT COURT
                                            SOUTHERN DISTRICT OF CALIFORNIA                        IItl"AYr~P/fl \'c~~n
              UNITED STATES OF AMERICA                               JUDGMENT IN.A CfU]\1I*'K.L<t~S~,,,\.;,,,,,:,
                                  V.                                 (For Offenses CommItted On Of"After NoVember I, 1987)
               MICHAEL JOHN MASSEY (15)                                                                                     DEPu1 Y
                                                                        Case Number:         I 3CR2. I 96-JLS

                                                                     THOMAS PAUL MATTHEWS
                                                                     Defendant's Attorney
REGISTRATION NO.                  80064038
D ­
r:8J pleaded guilty to count(s)          Two of the Superseding Indictment

D   was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                       Count
Title & Section                        Nature of Offense                                                              Number(s)
18 USC 1955                            Illegal Gambling Business                                                              2




     The defendant is sentenced as provided in pages 2 through                 4            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
       The defendant has been found not guilty on count(s)

IZI Count(s)      (remaining counts)                           are          dismissed on the motion of the United States.

r:8J   Assessment: $100.00 imposed



D      Fine waived                     Forfeiture pursuant to order filed          4116/2014                    , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                     Mav 23.2014
                                                                     Date ofImposition of Sentence




                                                                                                                      13CR2196-JLS
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    DEFENDANT:                   MICHAEL JOHN MASSEY (15)                                                                     Judgment - Page 2 of 4
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                                                                 PROBATION
The defendant is hereby sentenced to probation for a tenn of:
Five (5) Years


     The defendant shall report to the probation office within 72 hours from the date of sentencing.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of probation, unless otherwise ordered by court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o         substance abuse. (Check, if applicable.)
          The defendant shall not possess a fIrearm, ammunition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
          Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
          The defendant shall comply with the requirements ofthe Sex Offender Registration and NotifIcation Act (42 U.S.C. § 16901, et
o         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted of a qualifYing offense. (Check if applicable.)
D         The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

           If this judgment imposes a fIne or a restitution obligation, it shall be a condition of probation that the defendant pay any such
     fIne or restitution in accordance with the Schedule of Payments set forth in this judgment.
         The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
     with any special conditions imposed.
                                         STANDARD CONDITIONS OF PROBATION
     1) the defendant shall not leave the judicial district without the pennission of the court or probation officer;
    2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
    3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions ofthe probation officer;
    4)  the defendant shall support his or her dependents and meet other family responsibilities;
    5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
        reasons;
    6) the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
    7) the defendant shall refrain from excessi ve use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
        any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
        unless granted pennission to do so by the probation officer;
    10) the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any contraband
        observed in plain view of the probation officer;
    11) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
    12) the defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the permission of
        the court; and
    13) as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal record or
        personal history or characteristics and shall pennit the probation officer to make such notifications and to confinn the defendant's compliance
        with such notification requirement.




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                               SPECIAL CONDITIONS OF PROBATION



   1. Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation
      Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband
      or evidence of a violation of a condition of release; failure to submit to a search may be grounds for
      revocation; the defendant shall warn any other residents that the premises may be subject to searches
      pursuant to this condition.

   2. Provide complete disclosure of personal and business financial records to the probation officer as
      requested.

   3. Not enter any gambling establishments or participate in any gambling activities.




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                                                        FINE

The defendant shall pay a fine in the amount of     $5,000.00                   unto the United States of America.
                                                   ~~-------------




This sum shall be paid    181   as follows:


Pay a fine forthwith in the amount of $5,000.00 through the Clerk,U.S. District Court, at the rate of$50.00 per
month. These payment schedules do not foreclose the United States from exercising all legal actions, remedies,
and process available to it to collect the fine judgment at any time.

Until fine has been paid, the defendant shall notify the Clerk of the Court and the United States Attorney's
Office of any change in the defendant's mailing or residence address, no later than thirty (30) days after the
change occurs.




 The Court has determined that the defendant      does not      have the ability to pay interest. It is ordered that:
  181   The interest requirement is waived




                                                                                                         13CR2196-JLS
